         Case 1:24-cv-01323-ADA           Document 23         Filed 04/21/25       Page 1 of 9




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

    MICHAEL CHAD BLACK, ON                          §
    BEHALF OF HIMSELF AND OTHERS                    §
    SIMILARLY SITUATED,                             §
                                                    §
                         Plaintiff,                 §        CIVIL NO. A-24-CV-01323-ADA
                                                    §
    v.                                              §
                                                    §
    IDEAL CONCEPTS, INC.,                           §
                                                    §
                         Defendant.


          DOCKET CONTROL ORDER PURSUANT TO RULES 16(b) AND 26(f)

         Came for consideration the above-styled matter. IT IS HEREBY ORDERED that

the parties confer pursuant to Federal Rule of Civil Procedure 26(f) and file with the Court,

on May 12, 2025, both a joint proposed scheduling and discovery plan reflecting the

Rule 26(f) criteria AND a completed version of the Court’s standard Scheduling Order. 1

The parties or their counsel shall confer, complete and prepare the form, obtain the

appropriate signatures, and e-mail the proposed scheduling order in Word format to

TXWDml_LawClerks_WA_JudgeAlbright@txwd.uscourts.gov no later than the end of

business day, 5:00 pm on May 12, 2025.

         During the Rule 26(f) meeting, the parties or their counsel shall discuss the nature

and basis of their claims and defenses, the possibilities for prompt settlement or resolution

of the case, and the scope and type of discovery, including electronic discov ery. The parties

shall also arrange for the disclosures required by Rule 26(a)(1) and develop their joint




1
 An example Scheduling Order may be found at Appendix A. In addition, a word document version may be found
under the Austin Division Standing Orders tab on the Court’s website.
       Case 1:24-cv-01323-ADA          Document 23       Filed 04/21/25     Page 2 of 9




proposed scheduling/discovery plan. These are the minimum requirements for the meeting.

The parties are encouraged to have a comprehensive discussion and are required to approach

the meeting cooperatively and in good faith. The discussion of claims and defenses shall be

a substantive, meaningful discussion. In addressing settlement or early resolution of the

case, the parties are required to explore the feasibility of ADR between themselves as well.

If the parties elect not to participate in an early ADR effort, the Court may nonetheless

require a settlement conference shortly before trial.

       In addressing the Rule 26(a)(1) disclosures, the parties shall discuss the appropriate

timing, form, scope or requirement of the initial disclosures, keeping in mind that

Rule 26(a)(1) contemplates that disclosures will be made by the date of the Rule 16(b) initial

scheduling conference and will include at least the categories of information listed in

the rule. Rule 26 affords the parties flexibility in the scope, form and timing of disclosures

under both Rule 26(a)(1) (initial disclosures) and Rule 26(a)(2) (expert witness disclosures),

but the parties’ agreement on disclosures is subject to approval by the undersigned. In their

discussion of disclosures, counsel shall address issues of relevance in detail, with each party

identifying what it needs and why. The discussion shall include the sequence and timing of

follow-up discovery, including whether that discovery should be conducted informally or

formally and whether it should be conducted in phases to prepare for filing of particular

motions or settlement discussions.

       In addressing electronic discovery, the parties shall discuss what electronic sources

each party will search, difficulty of retrieval, preservation of records, the form of production

(electronic or hard-copy, format of production, inclusion of meta-data, etc.), cost of

production and which party will bear the cost, privilege/waiver issues, and any other
           Case 1:24-cv-01323-ADA                Document 23            Filed 04/21/25          Page 3 of 9




electronic discovery issues present in the case. Before engaging in the Rule 26 discussion,

the parties should determine who is most familiar with the client’s computer system, what

electronic records the client maintains, how the client’s electronic records are stored, the

difficulty/ease of retrieving various records, the existence and terms of the client ’s document

retention/destruction policy, and whether the client has placed a "litigation hold" preventing

destruction of potentially relevant records.

           Finally, the Court ORDERS discovery disputes be resolved in the following manner:

           Procedure. A party may not file a Motion to Compel discovery unless: (1) lead counsel

with decision making authority have met and conferred in good faith to try to resolve the dispute,

and (2) the party has contacted the Court’s law clerk to summarize the dispute and the parties’

respective positions.2 When contacting the Court’s law clerk for discovery or procedural disputes,

the following procedures shall apply:

           If the parties remain at an impasse after lead counsel have met and conferred, the requesting

party shall email a summary of the issue(s) and specific relief requested to all counsel of record.

The summary of the issue shall not exceed 500 words for one issue or a combined 1,000 words for

multiple issues. The responding party has 3 business days3 thereafter to provide an email response,

also not to exceed 500 words for one issue or a combined 1,000 words for multiple issues. The

specific relief requested should propose the exact language to be issued in a court order for each

part of every disputed issue. The specific relief requested does not count toward the word limits.




2
 The procedure outlined below is also the Court’s preferred mechanism for handling disputes regarding procedural
matters such as extensions of time, excess pages, etc. If the parties are unsure about whether a particular dispute should
be handled by motion or discovery dispute procedure, they should contact the Court’s clerks.

3
    Business days exclude weekends and federal holidays.
       Case 1:24-cv-01323-ADA            Document 23        Filed 04/21/25      Page 4 of 9




The Court encourages the parties to provide their submission in a Word document in the following

table format, which clearly identifies the disputed issues and specific relief requested.

                                             Example:

     Issue            Requesting Party’s Position               Responding Party’s Position

 RFP 1:          Responding Party didn’t produce          We found no sales records of the
 All sale        anything. Responding Party keeps         Product in the sales database.
 records of      its sales records in a sales database.
 the Product.
                 Relief: Order that “Responding           Relief: Find that “no documents
                 Party must produce a copy of the         responsive to RFP 5 exist” and deny
                 sales database within 7 days.”           Requesting Party’s relief.

 ROG 5:          Responding Party only identified a       We identified the relevant employees.
 Identify all    subset of the employees.                 The other employees are not relevant,
 employees                                                and it is too burdensome to identify
 who worked      Relief: Order that “Responding           every employee.
 on the          Party is compelled to fully respond
 Product.        to ROG 5 by identifying the names        Relief: Order that “Responding Party
                 and locations of the remaining           need not identify any other employees in
                 employees who worked on Product          response to ROG 5.”
                 by [date].”



       Once the opposing party provides its response, the requesting party shall email the

summaries of the issues to the Court’s law clerks for both Judge Albright with opposing counsel

copied. If a hearing is requested, the parties shall indicate in the email whether any confidential

information will be presented. Thereafter, the Court will provide guidance to the parties regarding

the dispute or arrange a Zoom or in-person hearing.

       Written Order. Within 7 days of the discovery hearing, the parties shall email a joint

proposed order to the Court’s law clerk that includes the parties’ positions from their dispute chart,

the parties’ requested relief, and the parties’ understanding of the Court’s ruling so that the

arguments and outcome can be docketed. Parties shall send an editable version of the proposed

order to the Court’s law clerk with any disputed language in red and blue text. Parties shall indicate
       Case 1:24-cv-01323-ADA            Document 23       Filed 04/21/25     Page 5 of 9




whether the order should be sealed. Failure to provide a proposed written order for the docket

results in waiver of the dispute for appeal.

The Court would also like to relay the following to the parties:

   (1) Judge Albright is not opposed to counsel contacting his law clerks for matters of preference
       or non-substantive matters. His law clerks are well-trained on what is or isn’t a substantive
       matter and will refuse to communicate in an ex-parte manner on any substantive matters.
       Parties should generally email any inquiries to the Court’s law clerk. The Court’s voicemail
       is not checked regularly. Email is the preferred contact method. Messages directed only to
       Judge Albright’s law clerks may be sent to:
       TXWDml_LawClerks_WA_JudgeAlbright@txwd.uscourts.gov.

   (2) The Court has recently faced a spate of discovery objections that do not track the 2015
       amendments to the Federal Rules. Please remember that boilerplate objections are
       unacceptable.

   (3) Speaking objections during depositions are improper. Other than to evaluate privilege
       issues, counsel should not confer with a witness while a question is pending. Counsel may
       confer with witnesses during breaks in a deposition without waiving any otherwise
       applicable privilege. Judge Albright is available during depositions if you feel a deponent
       is being evasive or his or her respective counsel is improperly objecting or invoking
       privilege. Please call the Court if this is happening; Judge Albright will resolve the matter
       and admonish the deponent to respond appropriately.


   (4) Parties shall promptly notify the Court if they reach a settlement in a case and request to
       stay any deadlines.



   SIGNED this 21st day of April, 2025.
Case 1:24-cv-01323-ADA   Document 23   Filed 04/21/25   Page 6 of 9




        APPENDIX A
       Case 1:24-cv-01323-ADA            Document 23        Filed 04/21/25       Page 7 of 9




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                  §
                                                  §
                                                  §
                           Plaintiffs,            §
                                                  §                Case No.
 v.                                               §
                                                  §                Jury Trial Demanded
                                                  §
                                                  §
                           Defendants.            §
                                                  §


                        JOINT PROPOSED SCHEDULING ORDER

       Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court ORDERS that the

following schedule will govern deadlines up to and including the trial of this matter:

         Date                                                Event
                         Discovery commences on all issues.
                         All motions to amend pleadings or to add parties shall be filed on or
                         before this date.
                         Fact Discovery Deadline. Any discovery requests must be propounded
                         so that the responses are due by this date.
                         The parties asserting claims for relief shall submit a written offer of
                         settlement to opposing parties on or before this date. All offers of
                         settlement are to be private, not filed, and the Court is not to be advised
                         of the same. The parties are further ORDERED to retain the written
                         offers of settlement and responses as the Court will use these in assessing
                         attorney’s fees and court costs at the conclusion of trial.
                         Parties with burden of proof to designate Expert Witnesses and provide
                         their expert witness reports, to include all information required by Rule
                         26(a)(2)(B).
                         Each opposing party shall respond, in writing, to the written offer of
                         settlement made by the parties asserting claims for relief by this date. All
                         offers of settlement are to be private, not filed, and the Court is not to be
                         advised of the same. The parties are further ORDERED to retain the written
                         offers of settlement and responses as the Court will use these in assessing
                         attorney’s fees and court costs at the conclusion of trial.
                         Parties shall designate Rebuttal Expert Witnesses on issues for which the
                         parties do not bear the burden of proof, and provide their expert witness
                         reports, to include all information required by Rule 26(a)(2)(B).

                                                  1
      Case 1:24-cv-01323-ADA           Document 23          Filed 04/21/25       Page 8 of 9




                       Expert Discovery Deadline. Expert discovery must be completed by this
                       date.
                       Any objection to the reliability of an expert’s proposed testimony under
                       Federal Rule of Evidence 702 shall be made by motion, specifically stating
                       the basis for the objection and identifying the objectionable testimony, not
                       later than 14 days of receipt of the written report of the expert’s proposed
                       testimony or not later than 14 days of the expert’s deposition, if a deposition
                       is taken, whichever is later. The failure to strictly comply with this
                       paragraph will be deemed a waiver of any objection that could have
                       been made pursuant to Federal Rule of Evidence 702
                       All dispositive motions shall be filed and served on all other parties on or
                       before this date and shall be limited to 25 pages. Responses shall be filed
                       and served on all other parties not later than 14 days after the service of the
                       motion and shall be limited to 20 pages. Any replies shall be filed and
                       served on all other parties not later than 7 days after the service of the
                       response and shall be limited to 10 pages, but the Court need not wait for
                       the reply before ruling on the motion.

                       Each party shall complete and file the attached “Notice Concerning
                       Reference to United States Magistrate Judge”
                       By this date the parties shall meet and confer to determine pre-trial
                       deadlines, including, inter alia, exchange of exhibit lists, designations of
                       and objections to deposition testimony, and exchange of demonstratives.
                       By this date the parties shall exchange a proposed jury charge and questions
                       for the jury. By this date the parties will also exchange draft Motions in
                       Limine to determine which may be agreed.
                       By this date the parties shall exchange any objections to the proposed jury
                       charge, with supporting explanation and citation of controlling law.
                       By this date the parties shall also submit to the Court their Motions in
                       Limine.
                       By this date the parties will submit to the Court their Joint Pre-Trial Order,
                       including the identification of issues to be tried, identification of witnesses,
                       trial schedule provisions, and all other pertinent information. By this date
                       the parties will also submit to the Court their oppositions to Motions in
                       Limine.
Preferably 1 to 2      Final Pre-Trial Conference. The parties shall provide to the Court an agreed
months before trial.   jury charge with supported objections of each party, and proposed questions
                       for the jury, at the final Pre-Trial Conference.
                       The Court will attempt to schedule Jury Selection on a day during the week
                       of ___________________. Otherwise, Jury Selection shall begin at 9:00
                       a.m. on ______________.

                       Jury Trial Commences at 9:00 a.m.




                                                 2
        Case 1:24-cv-01323-ADA    Document 23      Filed 04/21/25    Page 9 of 9




       SIGNED this __________ day of ____________, 20__.




                                              __________________________________
                                              Alan D Albright
                                              United States District Judge


AGREED:

By:    __________________________             By: ____________________________



Attorneys for Plaintiff s                     Attorneys for Defendants




                                          3
